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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

               Plaintiff,

vs.                                                 Case No. 1:15 CR 3762 SCY-3


MOHAMMAD MANASRA,

               Defendant.
                                          Reply
                                SENTENCING MEMORANDUM
                            ON BEHALF OF MOHAMMAD MANASRA

        Defendant, Mohammad Manasra, by and through his court appointed counsel, Irma

 Rivas, Assistant Federal Public Defender, files this reply in support of Mr. Manasra’s

 sentencing memorandum as follows:

       Mr. Manasra is not a wealthy man. Any assistance he provided to Sterling Island and to

Nael Ali was minimal and he had no influence or say so in how these businesses ran. Mr.

Manasra did, for a small commission and, for the convenience of Nael Ali, purchase jewelry

from Sterling Island, in Gallup, New Mexico, and did deliver this jewelry to Nael Ali, in

Albuquerque, New Mexico. The commission was the only interest in that sale. Mr. Manasra

never fooled Mr. Ali. The jewelry was delivered to Mr. Ali as packaged by Sterling Island, this

included the “Made in Philippines” stickers.

       Mr. Manasra has no stores. Mr. Manasra also purchased jewelry for himself and sold it

out of his van at the Albuquerque Flea Market. By contrast, Nael Ali had stores in such places as

Old Town Albuquerque from which Mr. Manasra received no profit, where he had no interest.

       Similarly, Mr. Manasra had nothing to do with Sterling Island’s business. Mr. Manasra

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did not have any say in the jewelry they sold. Mr. Manasra purchased from them, whatever they

had available for sale. Sterling Island sold the jewelry to Mr. Manasra with “Made in

Philippines” stickers. Mr. Manasra left the stickers on the jewelry when he sold them. The

Kokopeli that the undercover agent purchased from Mr. Manasra had a sticker reading, “Made in

Philippines.” Mr. Manasra was not hiding this sticker as he could have easily removed the

sticker, but chose not to.

                                        CONCLUSION

         In conclusion, Mr. Manasra again requests that the court allow credit time served for

 the days he spent in custody and that any supervision ordered be allowed to be served

 unsupervised. Mr. Manasra, other than this case, has never had any interactions with law

 enforcement and will not have any after this case is closed.


 I HEREBY CERTIFY THAT on the                         Respectfully submitted,
 8th Day of May 2018 I filed
 the foregoing electronically through the             FEDERAL PUBLIC DEFENDER
 CM/ECF system, which caused AUSA                     111 Lomas NW, Suite 501
 Kristopher Houghton to be served                     Albuquerque, NM 87102
 by electronic means, as more                         (505) 346-2489
 fully reflected on the Notice
 of Electronic Filing.
                                                      /s/ filed electronically       .
                                                     IRMA RIVAS, AFPD
                                                     Attorney for Defendant
                 filed electronically




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